Case 2:11-cr-00501-DN Document 1051 Filed 01/24/16 PageID.10636 Page 1 of 6




______________________________________________________________________________

                          IN THE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH, CENTRAL DIVISION


    UNITED STATES OF AMERICA,                         MEMORANDUM DECISION AND
                                                      ORDER
                          Plaintiff,
                                                      2:11-CR-501 DN
          vs.

    JEREMY JOHNSON, et al.,                           Chief District Judge David Nuffer

                          Defendants.                 Magistrate Judge Paul M. Warner


         Chief District Judge David Nuffer referred this case to Magistrate Judge Paul M. Warner

pursuant to 28 U.S.C. § 636(b)(1)(A). 1 Before the court is Wells Fargo Bank, N.A.’s Motion to

Quash or Modify Subpoena Duces Tecum 2 issued by Defendant Scott Leavitt.

         Mr. Leavitt seeks the production of four broad categories of documents:

         1.      All communications from November 2008 to end of December 2010 related to
                 IWorks, Inc., between and among Wells Fargo Bank and any of the following:
                 CardFlex, Inc., Blaze Processing, LLC, Mach 1 Merchanting, LLC, or IWorks,
                 Inc.

         2.      All records relating to the establishment of merchant accounts for IWorks, Inc., or
                 related entities, from May 2009 to end of December 2010.

         3.      All communications with the Federal Trade Commission and United States
                 Department of Justice and Internal Revenue Service, from 2010 to the present,
                 regarding IWorks, Inc. or related entities.


1
    See docket no. 136.
2
    See docket no. 963.
                                                  1
Case 2:11-cr-00501-DN Document 1051 Filed 01/24/16 PageID.10637 Page 2 of 6




         4.      Contracts and agreements, if any, in effect during the time period of November
                 2008 to December 2010, between:

                 a.     Wells Fargo Bank and First Data, Inc.
                 b.     Wells Fargo Bank and CardFlex, Inc.
                 c.     Wells Fargo Bank and Blaze Processing
                 d.     Wells Fargo Bank and Mach 1 Merchanting. 3

The subpoena defines iWorks as “iWorks, Inc.,” “Jeremy Johnson,” “any employees of iWorks,”

and 21 various entities related to iWorks. The parties conducted two meet and confer

conferences in an attempt to narrow the scope of the subpoena without court intervention. After

those discussions failed, Wells Fargo filed the instant motion.

         Wells Fargo argues that this court should quash the subpoena on the grounds that it is

unreasonable and oppressive. Specifically, Wells Fargo contends that the subpoena (1) seeks

documents that are not relevant or admissible, (2) is overbroad, (3) is not limited to a reasonable

time period, (4) requests information that is available from other sources, and (5) requires Wells

Fargo to divulge proprietary and confidential information.

         Federal Rule of Criminal Procedure 17(c) provides that “[a] subpoena may order the

witness to produce any books, papers, documents, data, or other objects the subpoena

designates” but also allows the court to “quash or modify the subpoena if compliance would be

unreasonable or oppressive.” Fed. R. Crim. P. 17(c)(1), (2). A party seeking a subpoena duces

tecum under Rule 17(c) must establish:

         (1) that the documents are evidentiary and relevant; (2) that they are not otherwise
         procurable reasonably in advance of trial by exercise of due diligence; (3) that the party
         cannot properly prepare for trial without such production and inspection in advance of

3
    Docket no. 963, Exhibit 1.
                                                  2
Case 2:11-cr-00501-DN Document 1051 Filed 01/24/16 PageID.10638 Page 3 of 6




         trial and that the failure to obtain such inspection may tend unreasonably to delay the
         trial; and (4) that the application is made in good faith and is not intended as a general
         “fishing expedition.”

United States v. Nixon, 418 U.S. 683, 699-700 (1974). In order to meet this burden, Mr. Leavitt

“must clear three hurdles: (1) relevancy; (2) admissibility; (3) specificity.” Id. at 700.

         Mr. Leavitt argues that the Nixon test set forth above should not apply; instead, he urges

this court to adopt the less-stringent standard in United States v. Nachamie, 91 F. Supp. 2d 552,

563 (S.D. N.Y. 2000). Mr. Leavitt states that he is “unaware of any case in which the Tenth

Circuit has been asked to consider whether the Nixon standard should apply to a defense

subpoena issued to a third-party.” 4 The Nixon test, however, has been applied by the Tenth

Circuit, as well by other judges in this district. See United States v. Abdush-Shakur, 465 F.3d

458, 467 (10th Cir. 2006); United States v. Allums, No. 2:08-cr-30, 2009 WL 412706, *1 (D.

Utah Feb. 18, 2009); United States v. Lansing, No. 2:08-cr-558, 2009 WL 321575, *1 (D. Utah

Feb. 9, 2009); United States v. Hatathle, No. 2:07-cr-814, 2008 WL 2640710, *1 (D. Utah July

1, 2008). Accordingly, this court likewise applies the Nixon standard for determining whether to

quash the subpoena.

         The documents Mr. Leavitt seeks are neither relevant nor admissible. Specifically, Judge

Nuffer granted the Government’s Motion in Limine to Preclude Defendant’s Presentation of No

Loss to Wells Fargo Bank as a Defense to Bank Fraud. 5 In that docket next order, Judge Nuffer

held that “[m]onetary loss to bank is not relevant to charges alleging fraud in seeking to continue


4
    Docket no. 1006 at 16.
5
    See docket no. 795.
                                                   3
Case 2:11-cr-00501-DN Document 1051 Filed 01/24/16 PageID.10639 Page 4 of 6




to use bank processing services under new shell companies because the bank had barred

Defendants from doing business due to excessive chargebacks” and “[m]onetary loss to bank is

irrelevant to the charged offenses and irrelevant to Defendants’ intent.” 6

         Upon review of the email exchange between Wells Fargo and counsel prior to the filing

of this motion, it is apparent, however, that Mr. Leavitt’s is seeking documents to support a

defense that Wells Fargo has not incurred any monetary loss. Specifically, Mr. Leavitt indicated

that he was seeking documents demonstrating: (1) that Wells Fargo agreed to “terms authorizing

the set up of merchant accounts and also indemnification provisions”; (2) “how Wells Fargo

drew on . . . reserve accounts, or was indemnified with money in those accounts”; (3) the

“amount [Wells Fargo] received by way of an indemnification provision associated with

accounts that [First Data, Inc.] and/or [CardFlex, Inc.] set up for iWorks and related entities”; (4)

that to the extent “the government is alleging that [Wells Fargo] lost money associated with these

accounts, [he is] looking for records of what that loss was (I.e., a fine? Imposed by whom?),

whether that was an actual loss or rather a loss that was covered by reserves held by [Wells

Fargo], [First Data, Inc.], or CardFlex, and whether there was any net loss as a result of accounts

set up by iWorks or related entities.” 7

         In an attempt to distance himself from these statements, Mr. Leavitt argues in his

opposition that the “requested documents will show that Wells Fargo was not ‘affected’ by the

alleged wire fraud” and that, “at best, the conduct complained of ‘affected’ a partially-owned


6
    Docket no. 944.
7
    Docket no. 963, Exhibit A at 17.
                                                  4
Case 2:11-cr-00501-DN Document 1051 Filed 01/24/16 PageID.10640 Page 5 of 6




subsidiary” of Wells Fargo. 8 However, whether Mr. Leavitt spins his subpoena as a demand for

information about losses (as he did during the pre-motion meet and confer) or as a demand for

information about how Wells Fargo was “affected” by the challenged conduct (as he does in his

opposition), the conclusion remains the same: he is seeking documents that are irrelevant and

inadmissible.

         Furthermore, the court agrees with Wells Fargo that the subpoena is facially overbroad,

not limited to a reasonable time frame, and seeks information available from other sources. It

seeks “all” documents, records, communications, and agreements between Wells Fargo and 29

other individuals or entities during a two year period seven years ago. The documents requested

are likely available from other defendants, entities involved in the FTC case (to which Mr.

Leavitt is a party), or the Government.

         And, lastly, Mr. Leavitt is using the subpoena as a means to justify his own delay. As he

noted in his opposition, Mr. Leavitt was aware of “Wells Fargo’s production of documents to the

government’s grand jury subpoena” on September 16, 2011. 9 Just three months after this case

was filed on June 15, 2011, Mr. Leavitt became aware of materials the Government had obtained

as well as a potential third-party source of information. But rather than seek that information

from named parties or serve a subpoena upon Wells Fargo years ago, Mr. Leavitt chose to wait

until the eve of trial to seek these documents.




8
    Docket no. 1006 at 18.
9
    Docket no. 1006 at 5-6.
                                                  5
Case 2:11-cr-00501-DN Document 1051 Filed 01/24/16 PageID.10641 Page 6 of 6




       However, Wells Fargo indicated that it was collecting and reviewing documents that

would be responsive to the subpoena’s requests and that it was willing to produce certain

specifically identified materials. To the extent that Wells Fargo has collected and reviewed non-

privileged documents responsive to the subpoena, and that would be admissible as set forth

above, Wells Fargo must produce those responsive documents that it has collected to date. Wells

Fargo should produce said documents on or before February 1, 2016.

       Based on the foregoing, Wells Fargo’s motion to quash is GRANTED IN PART AND

DENIED IN PART.

       IT IS SO ORDERED.

       Dated this 24th day of January, 2016.

                                               BY THE COURT:

                                               _______________________________
                                               PAUL M. WARNER
                                               United States Magistrate Judge




                                                 6
